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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

JOHN DOE,

         Plaintiff,

v.                                                        Case No.: 4:19-cv-00300

WASHINGTON UNIVERSITY

         Defendant.


                 MOTION OF DEFENDANT WASHINGTON UNIVERSITY
                 TO SEAL CERTAIN PLEADINGS AND DOCKET ENTRIES

         Pursuant to Local Rule 13.05, Defendant Washington University (the “University”)

requests for good cause shown that the Complaint, the exhibits thereto, and the docket entries

describing those exhibits in this matter be placed under seal pending further action by the parties

or the Court to appropriately redact or use pseudonyms for identifying information in the Court

file.1 In support thereof, the University states as follows:

         1.      On February 22, 2019, Plaintiff John Doe filed a Complaint (Doc. #1) against the

University seeking injunctive and monetary relief with respect to discipline imposed on Plaintiff

as a University student. Plaintiff also filed a Motion for Leave to Proceed Anonymously (Doc.

#3) and a Motion for Leave to File Exhibits under Seal (Doc. #2). In an e-mail to the University

transmitting a courtesy copy of the Complaint, counsel for Plaintiff stated that he would be out of

the office this week but had no objection “to Washington University sealing anything they like.”


         1
          The filing of this Motion and accompanying Entries of Appearance is not intended to
prejudice the University with respect to its time to serve a motion or responsive pleading under
Fed.R.Civ.P. 12(a)(1). The University anticipates waiving service under Fed.R.Civ.P. 4(d) and
would therefore have 60 days from the date the request for waiver was sent to respond to
Plaintiff’s Complaint.
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       2.        This case arises out of the University’s confidential investigation of student

conduct involving allegations of sexual assault. It would infringe upon the privacy rights of the

complainant, the respondent, and the non-party witnesses to that investigation for their

identifying information to be disclosed to the public.

       3.        Allowing this identifying information to be disclosed to the public would also

serve to intimidate parties and witnesses in other sexual assault investigations and deter them

from participating in the process out of fear that their identities could be later revealed in the

public record.

       4.        In order to ensure the privacy protections of parties and non-parties to the

underlying proceeding, the University requests that all of the pleadings and documents, including

the exhibit descriptions listed as docket entries, be placed under seal. The Complaint not only

discloses the names of non-party witnesses who participated in the investigation, but also

includes allegations of statements by those non-party witnesses. The names of non-party

witnesses are also included in the exhibits filed by Plaintiff and in the description of those

exhibits in the docket entries.

       WHEREFORE, defendant Washington University respectfully requests that the Court

enter an order that the Complaint, the exhibits thereto, and the docket entries describing those

exhibits be placed under seal pending further action by the parties or the Court to appropriately

redact or use pseudonyms for identifying information in the Court file.
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Dated: February 25, 2019                      HAAR & WOODS, LLP


                                              /s/ Matthew A. Martin__________________
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                                 CERTIFICATE OF SERVICE
       I hereby certify that on February 25, 2019, I filed the foregoing Motion of Defendant
Washington University to Seal Court File with the Clerk of the Court through the CM/ECF
system, which will send a notice of electronic filing to all counsel of record for the parties.



                                                     __/s/ Matthew A. Martin
